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 8                        UNITED STATES DISTRICT COURT
 9                     SOUTHERN DISTRICT OF CALIFORNIA
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       ADAM M. PARRA, Trustee of           ) CASE NO. 3:20-cv-0839-DMS-JLB
11     the Laura E. Parra Revocable        )
12     Trust Dated September 9, 1994,      )
       as amended,                         ) ORDER GRANTING JOINT
13                                         ) MOTION TO EXTEND TIME TO
14                 Plaintiff,              ) AMEND PLEADINGS AND/OR
             v.                            ) ADD PARTIES
15                                         )
16     JUDITH ERIKA PARRA, an              )
       Individual, and ERIKA PARRA,        )
17     Trustee of the Judith Erika Parra   )
18     and Jose Miguel Parra Trust         )
       dated March 13, 2020, and           )
19     DOES 1-10, inclusive,               )
20                                         )
                    Defendants.            )
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                                                 Order on Stipulation to Extend Time to Amend
                                                                   Pleadings and/or Add Parties
                                                             Case No. 3:20-cv-0839-DMS-JLB
     Case 3:20-cv-00839-DMS-JLB Document 22 Filed 11/04/20 PageID.187 Page 2 of 2




 1         Pursuant to the Joint Motion of Plaintiff Adam M. Parra, Trustee of the Laura
 2 E. Parra Revocable Trust Dated September 9, 1994, as amended (“Plaintiff”), and

 3 Defendants Judith Erika Parra, and Erika Parra as Trustee of the Judith Erika Parra

 4 and Jose Miguel Parra Trust dated March 13, 2020 (“Defendants”), (Plaintiff and

 5 Defendants hereinafter collectively referred to as “the Parties”),

 6         IT IS HEREBY ORDERED that:
 7         The time for the Parties to amend pleadings and/or add parties to this matter
 8 is extended to February 11, 2021.

 9         IT IS SO ORDERED.
10 Dated: November 4, 2020

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                                                 Order on Stipulation to Extend Time to Amend
                                                                   Pleadings and/or Add Parties
                                                             Case No. 3:20-cv-0839-DMS-JLB
